Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 1 of 8 PagelID 1

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

 

 

TAMPA DIVISION

Tracy Ehmann,

Plaintiff, Case Number: SAV ev VEY 35 Cp

Vv. Civil Action
Jury Trial Demanded -
Oshkosh Corporation, Inc., S
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Defendant. “ :
COMPLAINT
PRELIMINARY STATEMENT

1. Plaintiff, Tracy Ehmann, (‘Plaintiff’), is an artist and industrial designer who was
employed by Oshkosh Corporation, Inc., (“Defendant”), from about March of 2013 until
April 20, 2018, on which date Plaintiff was discharged from employment by Defendant.

2. Defendant is a corporation headquartered in Oshkosh, Wisconsin, which owns and
controls manufacturing facilities throughout the United States.

3. Defendant engages in the design, production, and sales of a wide variety of specialty
vehicles and access equipment including military trucks.

4. Plaintiff's husband, Eric Ehmann, formerly a production worker for Pierce
Manufacturing, Inc., (“Pierce”), a wholly owned subsidiary division of Defendant,
commenced a class and collective action in federal district court in the Eastern District of

Wisconsin, Green Bay Division, against Pierce on February 29, 2016, alleging violations

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Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 2 of 8 PagelID 2

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of the wage and overtime provisions of the Fair Labor Standards act of 1938, as
amended, 29 U.S.C. §§ 201, et seq., (“FLSA”), an action which resulted in the payment
of several million dollars in backpay to a class of Pierce workers.

Eric Ehmann was subsequently discharged in about March of 2017, and in response filed
suit, again, in federal district court in the Eastern District of Wisconsin, Green Bay
Division, alleging that Pierce violated anti-retaliation provisions of the FLSA.

In February of 2018 Eric Ehmann’s suit was concluded with a confidential settlement,
while all other pending matters between Eric Ehmann and Pierce were also resolved.

On February 26, 2018, Defendant provided a “FINAL WARNING?” letter, (“final
warning”), to Plaintiff, outlining stringent requirements concerning Plaintiff's work
schedule and work rules.

On April 20, 2018, Defendant then discharged Plaintiff, ostensibly for violating the terms
of the final warning.

Plaintiff now asserts, as is illustrated by the evidence and as the basis for this action, that
her discharge was in response to her husband’s protected activities relating to Defendant,
constituting retaliation in violation of the FLSA.

Plaintiff therefore brings this action pursuant to 28 U.S.C. § 1331 for the purpose of
obtaining relief under the FLSA in the form of reinstatement, promotion, monetary
compensation for damages including unpaid wages and unaccumulated/unpaid fringe
benefits (including but not limited to unpaid employer contributions to Plaintiff's 401(k)
retirement plan), compensatory damages for economic harm suffered as a result of the
loss of employer-sponsored health insurance coverage, liquidated damages, pre-judgment

interest, attorney fees, reimbursement of costs, and any other relief that the Court deems

just and proper.
JURISDICTION AND VENUE
This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this Complaint alleges violations of 29 U.S.C. § 215(a)(3) and is brought
pursuant to 29 U.S.C. § 216(b).

Venue in this District is proper pursuant to 28 U.S.C. §§ 1391(b)(1), 1391(c)(2), and
1391(d), because Defendant is a corporation which resides in this District.
Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 3 of 8 PagelD 3

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PARTIES

Plaintiff is an adult resident of Appleton, Wisconsin.

Defendant is a corporation which is headquartered at 2307 Oregon Street, Oshkosh
Wisconsin 54902, and which does extensive business in, owns and controls
manufacturing facilities in, owns real property in, and has extensive contacts and agents
in, this District, including specifically in Manatee County at 1512 38" Avenue East,
Bradenton, Florida 34208, as well as in Pinellas County.

Defendant’s registered agent for service of process in the State of Florida is CT
Corporation System, 1200 South Pine Island Road, Plantation, Florida 33324.
Defendant was an employer of Plaintiff, and Plaintiff was employed by Defendant,
pursuant to 29 U.S.C § 203.

Plaintiff was employed by Defendant as a non-exempt, hourly employee within the last
fourteen months of the date of filing of this Complaint.

Plaintiff performed compensable work at a physical location in Oshkosh, Wisconsin,
owned and operated by Defendant, as well as in other states, at the direction and under
the supervision of Defendant.

Plaintiff was economically dependent on Defendant, which engaged Plaintiff for the
purpose of performing compensable work for Defendant.

Plaintiffs hours of work were tracked and recorded by Defendant.

Defendant supervised Plaintiff's activities during her daily working shift.

Defendant had the ability and authority to hire, terminate, promote, demote, and/or
suspend Plaintiff.

Defendant had the ability and authority to review Plaintiff's work performance.
Defendant established the work rules, policies, and procedures by which Plaintiff abided
in the workplace.

Defendant controlled the terms and conditions of Plaintiff's employment.

Defendant established Plaintiff's work schedules and provided Plaintiff with work

assignments and hours of work.
Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 4 of 8 PagelD 4

FACTS

27. Plaintiff is a trained, highly skilled and talented artist and designer, with a résumé that
includes high-profile commissioned artistic sculpture and design work.

28. Sometime in or about 2012 Plaintiff applied to Defendant for a position as an industrial
designer in Defendant’s industrial design department in Oshkosh, Wisconsin, and was
subsequently hired and began working for Defendant in about March of 2013.

29. Over the course of her five-year tenure working for Defendant, Plaintiff's role in the
industrial design department steadily expanded beyond just delivering superior design
work, as her manager increasingly relied on her assistance in managing the department in
terms of supervising her colleagues, providing feedback, developing new markets, and
engaging in general planning, development, and project management.

30. Plaintiff made many significant and crucial contributions to a number of high-profile
projects, which consistently earned her well-deserved accolades from her manager and
senior company executives, up to and including the CEO of Oshkosh Corporation.

31. On many occasions Plaintiff worked around the clock, and/or traveled, and/or worked on
weekends and/or during hours outside of a “9-to-5” workday, as well as made numerous
personal sacrifices in terms of her family in order to prioritize her career in the immediate
term so that in the long term she and her family would benefit.

32. Prior to and during the course of (as well as subsequent to) her tenure, Plaintiff suffered
from Crohn’s disease, a chronic medical condition whose symptoms vary significantly
(including sometimes on a daily, and even intra-daily, basis) in frequency and severity,
but which overall Plaintiff is able to manage with the help of regular medical care and
prescription drugs.

33. During the course of her tenure, Plaintiff also intermittently suffered episodes of mental
illness, attributed by her and her physicians to, primarily, work-related stress and anxiety.

34. Plaintiff's chronic disease and periodic mental illness resulted in her physician
occasionally certifying her as being temporarily medically unable to work, as well as
recommending flexibility with respect to Plaintiff's daily work schedule.

35. At all times during the course of Plaintiffs tenure, up until imminently before her
discharge, Defendant always accommodated Plaintiff with respect to her medical

conditions by affording her a flexible schedule and periodic time off from work.
Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 5 of 8 PagelD 5

36. In fact, Defendant always afforded the same flexibility of scheduling to all of the

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members of Plaintiff's department, even those without a chronic medical condition, and
that flexibility comported with Defendant’s stated effort to offer a progressive workplace
environment in which “work-life balance” was considered crucial to their employees’
success.

Up until imminently before her discharge, at no time did Defendant ever refuse to either
permit or excuse any of Plaintiff's needs with respect to flexible scheduling or time off
from work.

At all times during the course of Plaintiff's tenure, up until imminently before her
discharge, Defendant permitted Plaintiff to work remotely (e.g., from home) by use of a
secure, internet-connected notebook computer. This was a convenient option that allowed
Plaintiff to perform work during instances when symptoms of her medical condition
would have otherwise made it impossible.

In fact, Defendant always afforded the option to work remotely to not just Plaintiff but to
all members of the department, even those without a chronic medical condition. Again,

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this seems to comport with Defendant’s stated position regarding employees’ “work-life
balance”.

Up until imminently before Plaintiff’s discharge, at no time did Defendant ever refuse or
restrict her ability to work remotely.

In February of 2018, Plaintiff's husband settled his FLSA retaliation suit, as well as all
other claims relating to Defendant.

Defendant then issued to Plaintiff the final warning, dated February 26, 2018, which
contained a number of prescriptions and proscriptions, including requirements that
Plaintiff must arrive to work daily no later than 8:30 am; that she must not work past 6:00
pm; and that she is not allowed to work remotely.

In response to the final warning, Plaintiff diligently attempted to abide by the new
restrictions but also questioned Defendant as to why she was the only member of her

department to be subjected to such rigorous new rules, while her colleagues continued to

enjoy flexible schedules and the ability to work remotely.
Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 6 of 8 PagelD 6

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Plaintiff received no substantive response to her inquiries, and on April 20", 2018,
despite having conformed to the requirements of the letter, she was notified that she was
discharged from employment, effective immediately.

Defendant has provided three reasons for discharging Plaintiff: working outside of core
business hours; having unauthorized photos of company property on her phone; and
saying negative things about colleagues.

However, Plaintiff did not work any hours that were not either pre-approved by her
manager, or otherwise in compliance with the requirements of the final warning.

Nor did Plaintiff have unauthorized photos of company property on her phone, but only
images that were in the public domain.

Nor did Plaintiff say negative things about her colleagues, with the possible exception of
instances in which her manager directly solicited feedback from Plaintiff about her

colleagues, which her manager customarily did throughout Plaintiff's tenure.

COUNT ONE

Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if
restated herein.

At all times material herein, Plaintiff has been entitled to the rights, protections, and
benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

At all times material herein, Defendant was the employer of Plaintiff, and Plaintiff was an
employee of Defendant, pursuant to the FLSA, 29 U.S.C §§ 203(d) and (e).

In 2016 and 2017, Plaintiff's husband filed a number of complaints in a variety of venues
against Pierce Manufacturing, Inc., a wholly owned subsidiary division of Defendant,
including filing suit under the FLSA, all of which constitutes statutorily-protected activity
pursuant to FLSA 29 U.S.C. § 215(a)(3).

In response to Plaintiff's husband’s protected activities relating to Defendant, Defendant
took adverse, retaliatory action against Plaintiff.

The FLSA prohibits an employer from taking adverse action against an employee who
has engaged in protected activities. 29 U.S.C. § 215(a)(3).
Case 8:19-cv-01445-MSS-CPT Document1 Filed 06/14/19 Page 7 of 8 PagelID 7

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The FLSA also prohibits an employer from taking adverse action against the spouse of an
employee who engaged in protected activities, and as such affords the spouse the same
protections and remedies. 29 U.S.C. § 215(a)(3).

By a pattern and practice illustrated by the actions and omissions described in this
Complaint, Defendant acted willfully and knew, or showed reckless disregard for
whether, its conduct was prohibited by the FLSA.

As a result of Defendant’s willful violations of the FLSA, Plaintiff has been deprived of
wages and various fringe benefits, and suffered economic harm including diminished
future earning capacity, as well as tarnishment of her reputation, emotional distress,
humiliation, and embarrassment.

Defendant has not acted in good faith nor with reasonable grounds to believe its actions
and omissions were not a violation of the FLSA, and accordingly the FLSA allows for
and requires remedies for Plaintiff, including, but not limited to, reinstatement,
promotion, damages for lost wages and other compensatory relief, liquidated damages,

pre-judgment interest, and attorney’s fees. 29 U.S.C. § 216(b).

CLAIM FOR RELIEF

Plaintiff requests that the Court grant the following relief:

a.) At the earliest possible time, pursuant to the Declaratory Judgment Act, 28
US.C. §§ 2201-2202, issue an Order declaring Defendant’ actions as
described in this Complaint as unlawful and in willful violation of the FLSA;

b.) Issue an Order directing and requiring Defendant to reinstate Plaintiff, in the
same capacity and, at minimum, in the same position but at the pay grade to
which she would have been promoted had she not been discharged;

c.) Issue an Order directing and requiring Defendant to pay Plaintiff damages in
the form of reimbursement for unpaid wages;

d.) Issue an Order directing and requiring Defendant to pay Plaintiff damages in

the form of pre-judgment interest on unpaid wages;
Case 8:19-cv-01445-MSS-CPT Document 1 Filed 06/14/19 Page 8 of 8 PagelD 8

e.) Issue an Order directing and requiring Defendant to pay Plaintiff liquidated
damages in an amount equal to the amount of unpaid wages;

f.) Issue an Order directing and requiring Defendant to pay Plaintiff damages in
the form of reimbursement for the monetary value of un-accumulated and/or
unpaid fringe benefits including, but not limited to, employer contributions to
Plaintiffs 401(k) retirement account;

g.) Issue an Order directing and requiring Defendant to pay Plaintiff
compensatory damages for medical bills accrued as the result of the loss of
her employer-sponsored health insurance coverage;

h.) Issue an Order directing Defendant to reimburse Plaintiff for the costs and
fees, including attorney fees, expended and/or accrued in the course of
bringing this action, and;

i.) Provide Plaintiff with any other relief that the Court deems just and proper.

DEMAND FOR JURY TRIAL
Plaintiff demands a jury trial for all triable issues.

Respectfully submitted this 13" Day of June 2019
racy Eitmann
Plaintiff, pro se
P.O. Box 2366
Appleton, WI 54912
